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            EXHIBIT B 21
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                                    DCCA NO. 22-BS-0059
                                  DISTRICT OF COLUMBIA
                                    COURT OF APPEALS
                                        Under Seal
                                                                                             Clerk of the Court
                                                                                    Received 08/18/2022 10:43 PM
 In the Matter of                                                                   Filed 08/18/2022 10:43 PM

 CONFIDENTIAL (J.B.C.), ESQ.                              Disciplinary Docket
                                                          No. 2021-D193
          Respondent,

 A Member of the Bar of the District of
 Columbia Court of Appeals

          R E P LY B R I E F I N S U P P O RT O F C R O S S-MOTION TO STAY
          PROCEEDINGS BEFORE THE BOARD OF PROFESSIONAL
         R E S P O N S I B I L I T Y P E N D I N G R E S O L U T I O N I N T H I S C O U RT
         Respondent’s Cross-Motion for Stay argued that this Court had exclusive jurisdiction over

the issues already before this Court on the Motion to Enforce and Respondent’s opposition thereto

and Respondent’s Cross-Motion to Quash. Respondent pointed out that the issues in this Court

would substantially overlap with his defenses to the Specification of Charges at the Hearing

Committee and Board level, and thus that it would be duplicative, inefficient, and risk inconsistent

rulings for these issues to be simultaneously addressed in both forums absent a stay of proceedings

below.

         Disciplinary Counsel makes a number of arguments in response. Upon examination, these

arguments are without merit, and the stay should be granted.

         First, Disciplinary Counsel again accuses Respondent of seeking delay. However, as

Respondent has previously explained in detail, the delays which so irk Disciplinary Counsel were

all the direct result of his own procedural and clerical missteps and litigation choices in response

to Respondent’s lawful and thoroughly supported assertion of his legal rights. See Response to

Motion to Enforce and Cross-Motion to Quash, pp. 3-5; Reply in Support of Cross-Motion to

Quash, pp. 2-4. And, because Disciplinary Counsel again failed to mention it, Respondent is
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obliged to point out that he did not seek an extension of time to respond in this Court to the Motion

to Enforce even though Disciplinary Counsel’s attempt to serve that filing on counsel for

Respondent was so beset by clerical errors that the full package was not received until the day

before the response was due. See Response to Motion to Enforce and Cross-Motion to Quash, p.

5. We need not tarry further with Disciplinary Counsel’s manufactured sideshow about delay and

instead turn to the grounds for a stay.

        Disciplinary Counsel next offers a series of arguments that there is no exclusive jurisdiction

in this Court—despite having previously insisted there was. See Motion to Strike “Lodged

Protective Motion to Quash,” p. 4. (“Not only does the Court have exclusive jurisdiction over the

question of the enforceability of the subpoena, but also the Court has the matter under

consideration.”) First, he contends that this is not a case in which two tribunals are considering the

same matter. This argument is premised on the contention that this Court and the Board of

Professional Responsibility are one and the same, and that even though there may be simultaneous

proceedings on the same issues in both forums, “only one court is involved.” Opposition, p. 6.

        Disciplinary Counsel relies on this invalid premise to distinguish Stebbins v. Stebbins, 673

A.2d 184, 189 (D.C. 1996) and cases cited therein. Those cases, he contends, involved a lower

court and an appellate court, while in this case “only one court is involved.” Whatever the merits

of that distinction, the inquiry required by Stebbins “is whether it is judicially efficient for the trial

court to take a particular action in the face of the particular matter pending before the appellate

court.” Id. Whatever the relative structure of the fact-finding and appellate tribunals, the Stebbins

inquiry is whether it will be duplicative and wasteful for both levels to have the same issues in the

same case under active consideration at the same time. Special masters appointed by a court and

the court are also part of the same tribunal. But that does not mean that avoiding inefficiency and




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replication disappear as concerns simply because a special master and the appointing trial court

are not as separate as are a trial court from an appellate court. And we have never seen a case

where a trial court and a special master simultaneously took up the same or significantly

overlapping issues.

        This case involves both “jurisdiction” in the “administrative efficiency” sense discussed in

Stebbins, and in the “traditional” sense “used to refer to the types of disputes, as defined by the

legislature or constitution, for which a court is created, and usually is applied at the outset of a case

to determine a court’s competence to hear a matter.” Stebbins, 673 A.2d at 189.

        Rule XI § 8(a) provides that “[a]n attorney under investigation has an obligation to respond

to Disciplinary Counsel’s written inquiries in the conduct of an investigation, subject to

constitutional limitations.” (emphasis added). When Respondent objected to Disciplinary

Counsel’s requests on constitutional grounds including the Fifth Amendment and separation of

powers, he contested whether Disciplinary Counsel’s investigation is “the type[] of dispute[], as

defined by the legislature or constitution, for which” the Board and this court are created. Stebbins,

673 A.2d at 189.

        Disciplinary Counsel responded by moving here to enforce his subpoena. By doing so,

ODC opened the door for Respondent to raise “traditional” jurisdictional issues, which rest on the

Constitution itself, putting them squarely before this Court. Such questions are “usually … applied

at the outset of a case to determine a court’s competence to hear a matter.” Id. Stebbins thus

requires a stay because, once a “traditional” jurisdictional argument is joined, it would be grossly

inefficient—and jeopardize the constitutional claims—to argue them simultaneously in this Court

and before a Hearing Committee, and then, on appeal, before the Board and, eventually (again) in

this Court.




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        Since duplication of issues among this Court, the Board, and Hearing Committees would

support ordering the stay, Disciplinary Counsel next argues there is no duplication, contending the

issue before this Court is limited to enforcement of the subpoena, while the issues before the

Hearing Committee and Board would encompass every contested question of fact and law in the

case except the enforceability of the subpoena. See Opp. p. 6 (“no danger that a hearing committee

will make a recommendation about the enforceability of the subpoena.”). As a general matter, this

is presumptuous. It is for this Court to decide which issues it is necessary at this time to resolve,

not for Disciplinary Counsel to proceed as if a host of defenses to subpoena enforcement are

irrelevant.

        Disciplinary Counsel’s facile distinction fails under the plain language of Rule XI § 8(a),

which makes all investigations, including the subpoena, “subject to constitutional limitations,” and

under the Due Process Clause, which incorporates those constitutional limitations and governs all

disciplinary proceedings conducted under the authority of this Honorable Court. Respondent’s

jurisdictional and merits arguments in opposition to the Motion to Enforce and in support of his

Cross-Motion to Quash are the same as would be asserted below in response to the Charges, and

they must be asserted at the Hearing Committee and Board level so that they can be preserved for

a final disposition pending judicial review in this Court. Both forums would be simultaneously

deciding Respondent’s challenge to the D.C. Bar’s jurisdiction over his conduct as a matter of

constitutional, statutory, and regulatory interpretation. These defenses are properly pending in this

Court, and will absolutely be asserted below if no stay is ordered. After all, it is elementary that if

there is no local city disciplinary jurisdiction over the deliberative policy-making process at the

highest levels of the U.S. Department of Justice in direct consultation with the President, the entire

case, including the subpoena, must be dismissed.




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        The efficiency problems identified in Stebbins, and so evident in this case, arise from

Disciplinary Counsel’s litigation strategies. He initiated proceedings first in this Court and then,

improperly impatient with how this Court was proceeding, initiated charge proceedings before the

Board and a Hearing Committee, obliging Respondent to assert in both forums there is no

“traditional” jurisdiction. Disciplinary Counsel’s impatience with the pace this Court’s

deliberations is unseemly.

        Disciplinary Counsel’s initial emphatic claim that this Court had exclusive jurisdiction has

thus now morphed into an argument that this Court has exclusive jurisdiction only over

enforcement of the subpoena, as if that did not also include the fundamental jurisdictional

arguments asserted by Respondent. And the revised and extended version of Disciplinary

Counsel’s argument (so radically different as to perhaps be estopped) fails because the inquiry

required by Stebbins “is whether it is judicially efficient for the trial court to take a particular action

in the face of the particular matter pending before the appellate court.” 673 A.2d at 189.

Respondent’s arguments against enforcement of the subpoena are fundamental to the entire case

and are properly pending before this Court. If there is no jurisdiction to investigate because the

Constitution, statute, and governing regulation limit the power of this Court (and hence of the

Board and its hearing committees), there is not only no valid and properly issued subpoena, there

is no case. Respondent is obligated by his oath of federal office to raise the constitutional issues in

every setting in which they are relevant, and Rule XI § 8(a) confirms his right to do so before the

Board and this Court.

        Disciplinary Counsel nevertheless contends that Respondent’s opposition to the subpoena

is not an appropriate vehicle for a motion to dismiss. But Respondent is without question entitled

to assert lack of subject matter jurisdiction in response to a subpoena, and indeed a court is bound




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to consider whether it has subject matter jurisdiction even if not raised by the parties. Stebbins,

673 A.2d at 189 (“traditional” jurisdictional test “usually is applied at the outset of a case to

determine a court’s competence to hear a matter”); Chase v. Pub. Def. Serv., 956 A.2d 67, 75 (D.C.

2008) (“Parties cannot waive subject matter jurisdiction by their conduct or confer it ... by consent,

and the absence of such jurisdiction can be raised at any time”, citing Customers Parking, Inc. v.

District of Columbia, 562 A.2d 651, 654 (D.C.1989).

        Disciplinary Counsel next attempts to bolster his jurisdictional argument with a somewhat

heated recitation of his version of the facts. Suffice to say at this stage that political disagreement,

however passionate, does not suffice to bestow jurisdiction where it is otherwise lacking. The

Charges allege “attempted dishonesty” in a pre-decisional discussion draft of a document that

proposed taking different positions on contested issues of fact, law, and policy than those

previously taken by former Attorney General Barr, Acting Attorney General Rosen, and Principal

Associate Deputy Attorney General Donoghue (performing the duties of the Deputy Attorney

General). These are disputed factual and merits issues, however, and if it is ever necessary to

resolve them, that must be done in the first instance by the finders of fact below.

        Disciplinary Counsel next contends that Respondent’s jurisdictional arguments are without

merit because the D.C. Bar has in the past disciplined federal government attorneys, citing six

example cases. In five of the six cases, there was no jurisdictional challenge whatsoever, much

less any consideration of the specific and momentous constitutional arguments made here by

Respondent. The issue in the sixth, In re Abrams, 689 A.2d 6 (D.C. 1997), was whether a

presidential pardon deprived the D.C. Bar of jurisdiction to discipline a former Deputy Secretary

of State convicted of lying to congressional committees. Following the unanimous authorities on




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the subject, the Court held that a pardon did not preclude discipline because a pardon does not

restore the lack of moral fitness demonstrated by Abrams’ perjury.

       Abrams is inapposite for at least two reasons. First, the D.C. Bar did not, and could not

under the Constitution, reach into the internal deliberations among senior officials in the

Department of State (let alone those in the State Department with the then-President) and demand

an explanation of their views on the content or emphasis of Abrams’ testimony before Congress.

Second, the Bar’s inquiry into Mr. Abrams character and “moral fitness” did not, and

constitutionally could not, rest on the content of pre-decisional drafts of his congressional

testimony that he did not actually deliver in his official capacity as Deputy Secretary of State. Just

as the Constitution protects the deliberative process of courts (and Rule XI § 19(a) immunizes the

deliberative processes of the ODC), the deliberative process of Congress, U.S. Const. art. I § 6,

cl.3 (Speech and Debate Clause), so too it immunizes the deliberative process of senior officers in

the Executive Branch, United States v. Nixon, 418 U.S. 683, 708 (1974). Abrams has nothing to

do with deliberative process and does not mention or discuss any of Respondent’s jurisdictional

arguments; it is thus irrelevant here. Accordingly, none of the authorities cited by Disciplinary

Counsel is in the least bit responsive to Respondent’s jurisdictional arguments in this case.

       Disciplinary Counsel also contends that Respondent has not cited any supportive authority.

This is simply not correct. The constitutional, statutory interpretation, and Chevron step one

administrative law arguments are amply supported with citations to statutes, regulations, and case

law. See Response to Motion to Unseal and Cross-Motion to Stay, p. 4; Response to Motion to

Enforce and Cross-Motion for Stay, pp. 15-20. But in one particular respect, a lack of a prior

disciplinary case on all fours, in its narrowest sense, supports rather than weakens Respondent’s

jurisdictional arguments.




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         If it is constitutional for a local bar disciplinary authority to demand information and access

to documents generated at the highest echelon of confidential Department of Justice policy-making

and legal deliberations with the President of the United States, and if 28 U.S.C. § 530B actually

grants disciplinary authority to the District of Columbia in such circumstances (two dubious

assumptions), then the implementing regulation, 28 C.F.R. § 77.2(j)(2) by its terms does not apply

if the local jurisdiction “would not ordinarily apply its rules of ethical conduct to particular conduct

or activity by the attorney.” (emphasis added).1 The D.C. Bar does not merely “not ordinarily”

apply its rules of ethical conduct to the particular conduct of the Respondent, it has never done so.

If the regulation means what it says, there is no jurisdiction and this case should be over.

         Respondent emphasizes that his oath of office, the Supremacy Clause, and the separation

of powers require that he make these jurisdictional arguments, which are by no means frivolous or

an affront to the regulatory jurisdiction of this Court. The question posed here is where jurisdiction

lies to regulate the professional conduct of senior DOJ lawyers purely inside the halls of the federal

Executive Branch. This is not a situation in which Respondent entered an appearance before this

Court and misrepresented some fact at oral argument. This is a case that attempts to peel back the

curtain of the Executive Branch and second guess its confidential internal deliberations at the

highest level. For a State to try to do that would be a constitutionally unthinkable violation of

federalism. For a city government to try to do so (even one that Congress sometimes treats as if it

were a State, like the District—though Congress did not do so here) is even more unthinkable and

a patent violation of the separation of powers because this Court’s authority descends from

Congress’s Article I lawmaking sphere.


1 The statute, 28 U.S.C. 530B, similarly grants states disciplinary authority over federal attorneys only “to the same
extent and in the same manner as other attorneys in that State.” See, e.g., Sandoval v. United States, No. 04-CV-4056,
2007 WL 2937124, at *6 (C.D. Ill. Sept. 26, 2007), aff'd, 574 F.3d 847 (7th Cir. 2009) (no ethical violation by federal
attorney where there was no state rule prohibiting his conduct).


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        Respondent respectfully submits that enforcement is an Executive Branch authority in the

first instance, particularly in view of the Justice Department’s nationwide responsibilities and the

sometimes contentious relationship between particular States and the federal government. Thus,

DOJ has an Office of Professional Responsibility and an Office of Inspector General with authority

to regulate the professional conduct of its lawyers. See Response to Motion to Enforce and Cross-

Motion for Stay, p. 18. As previously noted and publicly reported, a vigorous OIG investigation

of Respondent is in fact underway. These jurisdictional arguments have been asserted out of

reluctant necessity because Disciplinary Counsel repeatedly refused a request to stay his

investigation pending completion of the OIG’s investigation.

       Finally, Disciplinary Counsel contends all proceedings should be unsealed. But if there is

no jurisdiction, there is no case, and nothing should be unsealed. And if we are correct that there

was no jurisdiction below pending resolution of the dispute here, then there was no basis for

Disciplinary Counsel to violate the sealed nature of this proceeding for its own litigation purposes

including relieving his impatience. Disciplinary Counsel’s attempt to bootstrap around the

governing rules and jurisdictional limits and present this Court with an improperly conjured and

illusory fait accompli should be rejected.

       Jurisdiction—and the other arguments asserted in the Response to the Motion to Enforce

and Cross-Motion to Quash—ought to be decided before any of these proceedings are unsealed.

Disciplinary Counsel should not be allowed to usurp the Court’s decision on jurisdiction with

hastily filed charges after insisting exclusive jurisdiction was in this Court and then turn around

180 degrees, abandon that position, and then say that his own rule-violating actions now justify

unsealing all proceedings in this Court and below.

       Respectfully submitted this 18 day of August, 2022.




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                             C E RT I F I C AT E O F S E RV I C E
       I hereby certify that I have on this day served counsel for the opposing party with a copy

of this Reply Brief in Support of Cross-Motion to Stay Proceedings Before the Board of

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       This 18 day of August, 2022.

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